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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
                                    x

ELIEZER RABINOVITS and VICTOR MAZZEO                       Case No.______________
on behalf of themselves and all others similarly
situated,
                                                           CLASS ACTION COMPLAINT

                                       Plaintiff,
                                                           DEMAND FOR JURY TRIAL
               -against-

APPLE INC.,
                                       Defendant.
                                                       x


       Plaintiffs Eliezer Rabinovits and Victor Mazzeo (“Plaintiffs”), individually and on behalf

of a class of all those similarly situated as defined herein, alleges the following upon information

and belief, except as to those allegations concerning Plaintiffs, which are alleged upon personal

knowledge.     Plaintiffs’ information and belief are based upon, among other things, their

undersigned counsel’s investigation. Plaintiffs believe that substantial additional evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                 SUMMARY OF THE ACTION

       1.      This is a class action on behalf of owners of all versions of the iPhone 6 and/or

iPhone 7 who were harmed when their devices’ software was updated to any of the following:

iOS 10.2.1 (released on January 23, 2017); iOS 10.3 (released on March 27, 2017); iOS 10.3.1

(released on April 3, 2017); iOS 10.3.2 (released on May 15, 207); iOS 10.3.3 (released on July

19, 2017) (collectively referred to as the “iOS 10 Update”); iOS 11.0.1 (released on September

26, 2017); iOS 11.0.2 (released on October 3, 2017); iOS 11.0.3 (released on October 11, 2017);

iOS 11.1 (released on October 31, 2017); iOS 11.1.1 (released on November 9, 2017); iOS
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11.1.2 (released on November 16, 2017); iOS 11.2 (released on December 2, 2017); and iOS

11.2.1 (released on December 13, 2017) (collectively referred to as “iOS 11 Update”). The iOS

10 and iOS 11 Updates caused Plaintiffs’ and class members’ devices to be significantly slower

and interfered with the normal usage of the phones.

       2.      Plaintiffs allege that Defendant Apple Inc. (“Apple” or “Defendant”) engaged in

deceptive trade practices and false advertising in violation of New York General Business Law

§ 349 and § 350 when it represented that the iOS 10 and iOS 11 Updates were compatible with

and support iPhone 6s and iPhone 7s. Specifically, Apple failed to warn iPhone 6 and iPhone 7

owners that the iOS 10 and iOS 11 Updates could significantly and negatively interfere with

their phones’ performance. To the contrary, Apple specifically touted the increased phone

performance that would result from the iOS 10 and iOS 11 updates. Apple has since admitted

however that, through the iOS 10 and iOS 11 Updates, Apple deliberately prevents chips in

iPhone 6s and iPhone 7s from reaching their full processing power. In other words, instead of

enhancing the performance of iPhone 6s and iPhone 7s as Apple represented, the iOS 10 and iOS

11 Updates were designed to limit the devices’ performance in certain circumstances.

       3.      Having updated their phones, Plaintiffs and owners of iPhone 6s and iPhone 7s

must either continue using devices that experience significant lag time that interferes with their

ordinary use, or purchase a new phone for hundreds of dollars.

                                 JURISDICTION AND VENUE

       4.        This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d) because (1) there are more than 100 class members, (2) the aggregate

amount in controversy exceeds $5,000,000, exclusive of interest and costs, and (3) at least one

member of the putative class is a citizen of a State other than that of the citizenship of Defendant.

Further, more than two-thirds of the putative Class reside in states other than the State in which


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Defendant is domiciled, such that any exceptions to jurisdiction under 28 U.S.C. § 1332(d) do

not apply.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and § 1391(c)

because Defendant engaged in deceptive trade practices in this District, has caused harm to the

Class in this District, provides a substantial volume of goods to this District, and does a

substantial amount of business within this District, and thus has purposefully availed itself of the

privileges of conducting business within the State of New York and this District.

                                            PARTIES

       6.      Plaintiff Eliezer Rabinovits resides in Brooklyn, New York and is the owner of an

iPhone 6S.

       7.      Plaintiff Victor Mazzeo resides in New York, New York and is the owner of an

iPhone 7.

       8.      Defendant Apple Inc. is a California corporation with its principal offices at 1

Infinite Loop, Cupertino, CA 95014.

                               SUBSTANTIVE ALLEGATIONS

       9.      Plaintiff Eliezer Rabinovits owns an iPhone 6S.        His iPhone’s software was

updated to iOS 10 and iOS 11 after Apple released each update to the public.

       10.     Plaintiff Victor Mazzeo owns an iPhone 7. His iPhone’s software was updated to

iOS 10 and iOS 11 after Apple released each update to the public.

       11.     After the updates, Plaintiffs’ phones slowed down significantly, with delayed

responses to touch interactions, application (“App” or “Apps”) launches (Apple and third party

Apps), and many experienced other problems with the phones’ performance.

       12.     After the updates, Plaintiffs’ devices were no longer functional for normal use, as

Plaintiffs experienced slow and buggy response time during ordinary use.


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       13.     The updates caused performance problems in all aspects of the iPhone’s

functionality, including core functions like the phone, email, text messages, contacts, etc.

       14.     Besides slowing down, the latest update caused Plaintiff Mazzeo’s iPhone 7 to

crash, erasing all of the data stored on the device.

       15.     Upon information and belief, other class members experienced similar

functionality issues with their iPhone 6s and iPhone 7s after downloading the iOS 10 and iOS 11

Updates.

       16.     Upon information and belief, Defendant does not allow iPhone owners to revert

their iOS 10 or iOS 11 software to previous, better functioning versions of iOS. However,

Defendant does not warn the consumer that the update is irreversible.

       17.     Further, Plaintiffs and other class members had no choice but to update their

devices’ software to iOS 10 and iOS 11. First, Defendant’s software constantly reminded

Plaintiffs and class members through pop-up messages that appear on the devices’ home screens

that the devices’ software needed to be updated and that an upgrade was available for download.

These reminders were constant and disruptive (e.g., the reminders would not disappear until the

user took the affirmative step of responding to the message) and the reminders did not cease until

the owner had updated the software as directed.

       18.     Further, even if an iPhone owner tried to ignore the constant reminders,

eventually they were forced to update the software because the Apps on the devices would

ultimately be outdated and could not be updated unless the iPhone was running the latest iOS

software.

       19.     Plaintiffs and class members are forced to either use a buggy slow iPhone, or pay

hundreds of dollars for a new phone.




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       20.     Defendant’s deceptive practices and misleading advertising caused harm and

economic loss to the Plaintiffs and the class who lost use of functional iPhones. Some class

members have been forced to purchase new smartphones.

       21.     Plaintiffs were subjected to Defendant’s deceptive practices and misleading

advertising described below.

       22.     Defendant knew that the iPhone 6’s and iPhone 7’s functionality and/or

performance was going to be negatively affected by the iOS 10 and iOS 11 Updates before the

updates were released to the public.     Responding to a report on the sluggish iPhones, on

December 20, 2017, Apple publicly admitted that the iOS 10 and iOS 11 Updates deliberately

slowed down older iPhones, such as the iPhone 6 and the iPhone 7, without warning consumers:

       Last year we released a feature for iPhone 6, iPhone 6s and iPhone SE to
       smooth out the instantaneous peaks only when needed to prevent the device
       from unexpectedly shutting down during these conditions. We’ve now extended
       that feature to iPhone 7 with iOS 11.2, and plan to add support for other products
       in the future.

       23.     While Apple claims that the deliberate slow-down in functionality was designed

to offset shut-down issues with older batteries, Plaintiffs have experienced reduced battery life

since the iOS 10 and iOS 11 Updates.

       24.     More importantly, Defendant did not warn iPhone 6 or iPhone 7 owners of the

potential consequences of downloading the iOS 10 and iOS 11 Updates until months after the

updates were released to the public.

       25.     To the contrary, Defendant consistently touted the necessity of the updates and

the improvements of the new software to the previous version. For example, when advertising

for Apple’s security updates on its website, Defendant emphasizes the necessity of the updates,

stating “Keeping your software up to date is one of the most important things you can do to

maintain your Apple product’s security.” (https://support.apple.com/en-us/HT201222).


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       26.     Furthermore, in the constant advertising of the pop-up messages, Defendant failed

to disclose the negative aspects of the updates. For example:

       27.     The iOS 10.2.1 update promised improved security: “includes bug fixes and

improves the security of your iPhone or iPad.”

       28.     The iOS 10.3 and 10.3.1 updates promised new functionality:           “iOS 10.3

introduces new features including the ability to locate AirPods using Find my iPhone and more

ways to use Siri with payment, ride booking and automaker [caremaker] apps.”

       29.     The iOS 10.3.2 and 10.3.3 updates promised enhancements to security: “iOS

10.3.2 includes bug fixes and improves the securities of your iPhone or iPad.”

       30.     The iOS 11.0.1 update promised functional improvements to the iPhone: “iOS

11.0.1 includes bug fixes and improvements for your iPhone or iPad.”

       31.     The iOS 11.0.2 update promised additional features and improvements: “iOS

11.0.2 brings hundreds of new features to iPhone and iPad including an all new App Store, a

more proactive and intelligent Siri, improvements to Camera and Photos, and augmented reality

technologies to enable immersive experiences.”

       32.     The iOS 11.0.3 promised to fix certain problems on iPhone 6 and iPhone 7

devices, noting that the update fixes “an issue where audio and haptic feedback would not work

on some iPhone 7 and 7 Plus devices” and “addresses an issue where touch input was

unresponsive on some iPhone 6s displays. . . .”

       33.     The iOS 11.1 promised both “bug fixes and improvements.”

       34.     The iOS 11.1.1 update promised to address certain bugs, including “fixes an issue

with keyboard auto-correct” and fixes an issue where Hey Siri stops working.”




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       35.     The iOS 11.1.2 update promised to address certain issues affecting phones, such

as “an issue where the iPhone X screen becomes temporarily unresponsive to touch” and “an

issue that could cause distortion in Live Photos.”

       36.     The iOS 11.2.1 update promised enhancements: “fixes bugs including an issue

that could disable remote access to shared users of the Home app.”

       37.     Nowhere did Apple disclose that the updates will negatively affect the iPhones

and their functionality.

                              CLASS ACTION ALLEGATIONS

       38.     This action is brought on behalf of the named Plaintiffs and as a Class Action

pursuant to Rule 23(b)(1),(2),(3) and 23(c) of the Federal Rules of Civil Procedure on behalf of

the following proposed “Class” or “Class Members”:

       All individuals and entities in New York who currently own or have owned an
       iPhone 6 and/or iPhone 7 that was updated to any of the following: iOS 10.2.1
       (released on January 23, 2017); iOS 10.3 (released on March 27, 2017); iOS
       10.3.1 (released on April 3, 2017); iOS 10.3.2 (released on May 15, 207); iOS
       10.3.3 (released on July 19, 2017); iOS 11.0.1 (released on September 26, 2017);
       iOS 11.0.2 ( released on October 3, 2017); iOS 11.0.3 (released on October 11,
       2017); iOS 11.1 (released on October 31, 2017); iOS 11.1.1 (released on
       November 9, 2017); iOS 11.1.2 (released on November 16, 2017); iOS 11.2
       (released on December 2, 2017) and iOS 11.2.1 (released on December 13, 2017).

       39.     The Class is so numerous that joinder of all the members is impracticable. While

the exact number of Class members is unknown to Plaintiffs at this time and can only be

ascertained through appropriate discovery, Plaintiffs believe that there are at least thousands of

members in the putative Class.

       40.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:




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 a.    whether Defendant’s statements and advertisements to iPhone 6 and

       iPhone 7 owners concerning the iOS 10 and iOS 11 Updates constitute an

       unfair or deceptive business practice in violation of § 349 of New York

       General Business Law;

 b.    whether Defendant engaged in unfair or deceptive business practices in

       violation of § 349 of New York General Business Law by using the iOS

       10 and iOS 11 Updates to limit the performance of iPhone 6s and iPhone

       7s.

 c.    whether Defendant engaged in unfair or deceptive business practices in

       violation of § 349 of New York General Business Law when it failed to

       disclose/omitted facts and/or disclaimers to owners of iPhone 6s and

       iPhone 7s regarding the adverse effect of the iOS 10 and iOS 11 Updates

       on the performance of the devices;

 d.    whether Defendant engaged in unfair or deceptive business practices in

       violation of § 349 of New York General Business Law when it made the

       iOS 10 and iOS 11 Updates available for download to iPhone 6 and

       iPhone 7 owners.

 e.    whether Defendant’s statements and advertisements to iPhone 6 and

       iPhone 7 owners concerning the iOS 10 and iOS 11 Updates constitute an

       unfair or deceptive advertising in violation of § 350 New York’s General

       Business Law;

 f.    whether Defendant engaged in unfair or deceptive advertising in violation

       of § 350 New York’s General Business Law when it failed to




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                        disclose/omitted facts and/or disclaimers to owners of iPhone 6s and

                        iPhone 7s regarding the adverse effect of the iOS 10 and iOS 11 Updates

                        on the performance of the devices;

        41.     Plaintiffs’ claims are typical of the claims of the members of the Class as all Class

Members are similarly affected by Defendant’s deceptive conduct. Plaintiffs and other Class

Members were harmed by Defendant’s statements, advertisements, and the degraded

functionality of their devices. All Class Members have been harmed by Defendant’s failure to

disclose or warn iPhone 6 and iPhone 7 owners that the iOS 10 and iOS 11 Updates would

significantly impact the performance of their devices.

        42.     Plaintiffs will fairly and adequately protect the interests of the members of the

Class. Plaintiffs’ claims are coextensive with, and not antagonistic to, the claims of other Class

Members. Plaintiffs are willing and able to prosecute this action on behalf of the Class and have

retained counsel competent and experienced in class action litigation.

        43.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually seek

redress for the wrongs done to them. There will be no difficulty in the management of this

action as a class action.

        44.     Plaintiffs bring this action pursuant to Rule 23(b)(3) because common questions

of law and fact predominate over issues that are individual to members of the Class. The

proposed Class is sufficiently cohesive to warrant class and representative treatment. Upon

information and belief, Defendant has the ability and the records that would permit Plaintiffs a




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plausible class-wide method for proving the case. Certification under Rule 23(b)(3) is also

appropriate because a class action is superior to other available methods for the fair and efficient

adjudication of this action. The expense of litigating each Class Members’ claim individually

would be so cost prohibitive as to deny Class Members a viable remedy. Plaintiffs do not

anticipate any difficulty in the management of the action as a class action.

       45.     Plaintiffs also bring this action pursuant to Rule 23(b)(2) because Defendant has

acted or refused to act on grounds generally applicable to all Class Members, thereby making

final injunctive relief concerning the Class as a whole appropriate. In the absence of appropriate

injunctive relief, Defendant will continue is unfair and deceptive practices. Defendant’s uniform

conduct towards Plaintiffs and other Class Members makes certification of a Rule 23(b)(2) class

appropriate.

                                  FIRST CAUSE OF ACTION

                     (Violation of New York General Business Law § 349)

       46.     Plaintiffs incorporate by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       47.     Defendant’s conduct was consumer oriented because Defendant falsely

advertised, made materially misleading statements, and negligently, recklessly or knowingly

omitted/failed to disclose material information to consumers throughout New York regarding the

performance of its products and software.

       48.     By reason of the foregoing, and as a result of Defendant’s conduct, Plaintiffs and

the Class have been harmed economically and by losing use of a functional iPhone. Plaintiffs

and the Class are entitled to damages and attorneys’ fees pursuant to N.Y. G.B.L. § 349.




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                                SECOND CAUSE OF ACTION

                      (Violation of New York General Business Law § 350)

       49.       Plaintiffs incorporate by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       50.       Defendant’s advertisements were false and misleading in a material way, as

Defendant made affirmative statements and omissions concerning the positive effects of the iOS

10 and iOS 11 Updates without disclosing or warning that Plaintiffs and the Class of the negative

effects of the iOS 10 and iOS 11 Update, including significant slowdowns and decreased

functionality.




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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Class respectfully pray for judgment and relief in their

favor against the Defendant, as follows:

       A.      Awarding Plaintiffs and the Class damages, trebled, or the maximum amount

               allowed;

       B.      Awarding reasonable attorneys’ fees;

       C.      Enjoining Apple’s unlawful practices; and

       D.      Granting such other and further relief as the Court deems just and proper.

                                 JURY TRIAL DEMANDED


Dated: December 22, 2017                      BERNSTEIN LIEBHARD LLP


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